                    Case 2:21-cv-00980-TSZ Document 63 Filed 03/23/23 Page 1 of 3



 1
                                                                  HONORABLE THOMAS S. ZILLY
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
     WILLIAM F. ABRAMS,                                Case No. 2:21-cv-00980-TSZ
10
                                      Plaintiff,
11
               v.                                      NOTICE OF APPEAL
12
     UNUM LIFE INSURANCE COMPANY OF
13   AMERICA,
14                                   Defendant.
15

16            Notice is hereby given that Defendant Unum Life Insurance Company of America hereby

17   appeals to the United States Court of Appeals for the Ninth Circuit from the final judgment entered

18   in this action on February 27, 2023 (Dkt. 62), together with any and all interlocutory and related

19   rulings that merged into and became a part of that judgment including, but not limited to, the

20   December 27, 2022 Order on Plaintiff’s Rule 52 motion (Dkt. 43) and the February 27, 2023 Order

21   on Attorneys’ Fees (Dkt. 61).

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     ///
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     ///
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26   ///

27   ///
     NOTICE OF APPEAL - 1                                                 LANE POWELL PC
                                                                   1420 FIFTH AVENUE, SUITE 4200
     CASE NO. 2:21-cv-00980-TSZ
                                                                            P.O. BOX 91302
                                                                 SEATTLE, WASHINGTON 98111-9402
                                                                    206.223.7000 FAX: 206.223.7107
     100447.0203/9318148.1
                  Case 2:21-cv-00980-TSZ Document 63 Filed 03/23/23 Page 2 of 3



 1            DATED: March 23, 2023
 2                                          LANE POWELL PC
 3

 4
                                            By:   s/ D. Michael Reilly
 5                                               D. Michael Reilly, WSBA No. 14674
                                                 Ryan P. McBride, WSBA No. 33280
 6                                               1420 Fifth Avenue, Suite 4200
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                                                 Seattle, Washington 98111-9402
 8                                               Telephone: 206.223.7000
                                                 reillym@lanepowell.com
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                                            Attorneys for Defendant Unum Life Insurance
10                                          Company of America
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     NOTICE OF APPEAL - 2                                           LANE POWELL PC
                                                             1420 FIFTH AVENUE, SUITE 4200
     CASE NO. 2:21-cv-00980-TSZ
                                                                      P.O. BOX 91302
                                                           SEATTLE, WASHINGTON 98111-9402
                                                              206.223.7000 FAX: 206.223.7107
     100447.0203/9318148.1
                  Case 2:21-cv-00980-TSZ Document 63 Filed 03/23/23 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE
 2            I hereby certify that on this 23rd day of March, 2023, I electronically filed the

 3   foregoing NOTICE OF APPEAL with the Clerk of the Court using the CM/ECF system which

 4   will send notification of such filing to the following:

 5              Megan E. Glor
                Megan E. Glor Attorneys at Law
 6              707 NE Knott Street, Suite 101
                Portland, OR 97212
 7              Phone: 503.223.7400
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10              3101 Western Avenue, Suite 350
                Seattle, WA 98121
11              Phone: 206.223.0303
                Email: rspoonemore@sylaw.com
12                      ehamburger@sylaw.com
13

14            DATED this 23rd day of March, 2023.

15

16                                                      s/ Shanynn R. Foster
                                                        Shanynn R. Foster, Legal Assistant
17

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     NOTICE OF APPEAL - 3                                                  LANE POWELL PC
                                                                    1420 FIFTH AVENUE, SUITE 4200
     CASE NO. 2:21-cv-00980-TSZ
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